     Case 3:25-cv-01815-DMS-AHG      Document 1   Filed 07/17/25   PageID.1    Page 1 of 36




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 7
 8                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
 9
10
      HAU XIANG LEONG, Individually and           Case No. '25CV1815 DMS AHG
11    on Behalf of All Others Similarly
12    Situated,
                                                  CLASS ACTION
13                      Plaintiff,
14                                                COMPLAINT FOR VIOLATIONS
            v.                                    OF THE FEDERAL SECURITIES
15                                                LAWS
16    CAPRICOR THERAPEUTICS, INC. and
      LINDA MARBÁN,                   DEMAND FOR JURY TRIAL
17
18                      Defendants.

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                     COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1     Filed 07/17/25    PageID.2     Page 2 of 36




 1          Plaintiff Hau Xiang Leong (“Plaintiff”), individually and on behalf of all
 2
      other persons similarly situated, by their undersigned attorneys, alleges in this
 3
 4    Complaint for violations of the federal securities laws (the “Complaint”) the
 5    following based upon knowledge with respect to their own acts, and upon facts
 6
      obtained through an investigation conducted by her counsel, which included, inter
 7
 8    alia: (a) review and analysis of relevant filings made by Capricor Therapeutics, Inc.
 9
      (“Capricor” or the “Company”) with the United States Securities and Exchange
10
      Commission (the “SEC”); (b) review and analysis of Capricor’s public documents,
11
12    conference calls, press releases, and stock chart; (c) review and analysis of
13
      securities analysts’ reports and advisories concerning the Company; and (d)
14
      information readily obtainable on the internet.
15
16          Plaintiff believes that further substantial evidentiary support will exist for the
17
      allegations set forth herein after a reasonable opportunity for discovery. Most of the
18
      facts supporting the allegations contained herein are known only to the defendants
19
20    or are exclusively within their control.
21
                                 NATURE OF THE ACTION
22
23          1.     This a federal securities class action on behalf of all investors who

24    purchased or otherwise acquired Capricor securities between October 9, 2024 and
25
      July 10, 2025, inclusive (the “Class Period”), seeking to recover damages caused by
26
27    Defendants’ violations of the federal securities laws (the “Class”).

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                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1     Filed 07/17/25    PageID.3     Page 3 of 36




 1          2.     Defendants provided investors with material information concerning
 2
      Capricor’s lead cell therapy candidate drug deramiocel for the treatment of
 3
      cardiomyopathy     associated    with   Duchenne muscular         dystrophy    (DMD).
 4
 5    Defendants’ statements included, among other things, Capricor’s ability to obtain a
 6
      Biologics License Application (BLA) for deramiocel from the U.S. Food and Drug
 7
 8    Administration (FDA).

 9          3.     Defendants provided these overwhelmingly positive statements to
10
      investors while, at the same time, disseminating false and misleading statements
11
12    and/or concealing material adverse facts concerning its four-year safety and efficacy

13    data from its Phase 2 HOPE-2 trial study of deramiocel. This caused Plaintiff and
14
      other shareholders to purchase Capricor’s securities at artificially inflated prices.
15
16          4.     The truth began to emerge on May 5, 2025 when Capricor issued a press

17    release announcing it had completed its mid-cycle review meeting with the FDA on
18
      deramiocel for the treatment of DMD. In pertinent part, Defendants announced that
19
20    no significant deficiencies were identified by the Review Committee and that the

21    package is on track for a Prescription Drug User Fee Act (PDUFA) action date of
22
      August 31, 2025. Additionally, the FDA also confirmed its intent to hold an advisory
23
24    committee meeting.

25          5.     In response to this news, Capricor’s stock price declined from $10.30
26
      per share to $7.30 per share. However, Defendants materially misrepresented and/or
27
28    created the false impression that they could obtain first approval for DMD
                                                 2
                    COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG                Document 1          Filed 07/17/25        PageID.4        Page 4 of 36




 1    cardiomyopathy full approval, thereby causing Capricor’s stock price to increase
 2
      under false pretenses over the next few months.
 3
              6.       Investors remained in the dark until Stat News1 reported that Vinjay
 4
 5    Prasad, the director of the FDA’s Center for Biologics Evaluation and Research
 6
      (CBER), canceled the advisory committee meeting regarding deramiocel due to
 7
 8    being “skeptical of the treatment” and uncertain about the drug’s efficacy and safety.

 9    On this news, the price of Capricor’s common stock declined from $11.94 per share
10
      on June 18, 2025 to $8.26 per share on June 20, 2025.
11
12            7.       Notwithstanding, Defendants continued to mislead investors with

13    materially false statements as to the strength of its BLA submission for deramiocel
14
      and advancement toward eventual approval. These statements concealed the truth
15
16    about the efficacy of Capricor’s four-year data from its Phase 2 HOPE-2 trial until

17    July 11, 2025, when Capricor issued another press release announcing it received a
18
      Complete Response Letter (CRL) from the FDA denying the BLA specifically citing
19
20    it did not meet the statutory requirement for substantial evidence of effectiveness

21    and the need for additional clinical data. Further, the CRL referenced outstanding
22
      items in the Chemistry, Manufacturing, and Controls (CMC) section of the
23
24    application. As a result, the price of Capricor stock declined from $11.40 per share

25    on July 10, 2025 to $7.64 per share on July 11, 2025.
26
27
      1
28      https://www.statnews.com/2025/06/20/fda-ouster-top-gene-therapy-official-nicole-verdun-placed-on-leave-after-
      review-committee-canceled/
                                                             3
                        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1        Filed 07/17/25   PageID.5   Page 5 of 36




 1          8.     Investors have sustained significant damages as a result of Defendants’
 2
      fraudulent statements. Plaintiff seeks to recover those damages by way of this
 3
      lawsuit.
 4
 5                              JURISDICTION AND VENUE
 6
            9.     Plaintiff brings this action, on behalf of herself and other similarly
 7
 8    situated investors, to recover losses sustained in connection with Defendants’ fraud.

 9          10.    The claims asserted herein arise under and pursuant to §§10(b) and
10
      20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5
11
12    promulgated thereunder by the SEC (17 C.F.R. §240.10b-5).

13          11.    This Court has jurisdiction over the subject matter of this action
14
      pursuant to 28 U.S.C. §§1331 and 1337, and Section 27 of the Exchange Act, 15
15
16    U.S.C. §78aa.

17          12.    Venue is proper in this District pursuant to §27 of the Exchange Act
18
      and 28 U.S.C. §1391(b), as Defendant Capricor is headquartered in this District and
19
20    a significant portion of its business, actions, and the subsequent damages to Plaintiff

21    and the Class, took place within this District.
22
            13.    In connection with the acts, conduct and other wrongs alleged in this
23
24    Complaint, Defendants, directly or indirectly, used the means and instrumentalities

25    of interstate commerce, including but not limited to, the United States mail, interstate
26
      telephone communications and the facilities of the national securities exchange.
27
28
                                                 4
                    COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG      Document 1     Filed 07/17/25   PageID.6    Page 6 of 36




 1                                      THE PARTIES
 2
            14.    Plaintiff purchased Capricor common stock at artificially inflated prices
 3
      during the Class Period and was damaged upon the revelation of the Defendants’
 4
 5    fraud. Plaintiff’s certification evidencing her transaction(s) in Capricor is attached
 6
      hereto.
 7
 8          15.    Capricor Therapeutics, Inc. is a Delaware corporation with its principal

 9    executive offices located at 10865 Road to the Cure, Suite 150, San Diego, CA
10
      92121. During the Class Period, the Company’s common stock traded on the
11
12    NASDAQ Stock Market (the “NASDAQ”) under the symbol “CAPR.”

13          16.    Defendant Linda Marbán (“Marbán”) was, at all relevant times, the
14
      Chief Executive Officer and Director of Capricor.
15
16          17.    Defendant Marbán is sometimes referred to herein as the “Individual

17    Defendant.” Capricor together with the Individual Defendant is referred to herein as
18
      the “Defendants.”
19
20          18.    The Individual Defendant, because of her position with the Company,

21    possessed the power and authority to control the contents of Capricor’s reports to
22
      the SEC, press releases, and presentations to securities analysts, money and portfolio
23
24    managers, and institutional investors, i.e., the market. Each Individual Defendant

25    was provided with copies of the Company’s reports and press releases alleged herein
26
      to be misleading prior to, or shortly after, their issuance and had the ability and
27
28    opportunity to prevent their issuance or cause them to be corrected. Because of her
                                                5
                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG      Document 1     Filed 07/17/25   PageID.7    Page 7 of 36




 1    position and access to material non-public information available to her, the
 2
      Individual Defendant knew that the adverse facts specified herein had not been
 3
      disclosed to, and were being concealed from, the public, and that the positive
 4
 5    representations which were being made were then materially false and/or
 6
      misleading. The Individual Defendant is liable for the false statements pleaded
 7
 8    herein, as those statements were each “group-published” information, the result of

 9    the collective actions of the Individual Defendant.
10
            19.    Capricor is liable for the acts of the Individual Defendant, and its
11
12    employees under the doctrine of respondeat superior and common law principles of

13    agency as all the wrongful act complained of herein were carried out within the scope
14
      of their employment with authorization.
15
16          20.    The scienter of the Individual Defendant, and other employees and

17    agents of the Company are similarly imputed to Capricor under respondeat superior
18
      and agency principles.
19
20                             SUBSTANTIVE ALLEGATIONS

21          A.     Company Background
22
            21.    Capricor is a clinical-stage biotechnology company that engages in the
23
24    development of transformative cell and exosome-based therapeutics for treating

25    Duchenne muscular dystrophy (DMD) and other diseases with unmet medical needs
26
      in the United States. Its lead product candidate is deramiocel, an allogeneic
27
28    cardiosphere-derived cells.
                                                6
                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG      Document 1     Filed 07/17/25    PageID.8   Page 8 of 36




 1          B.     Defendants Materially Misled Investors Concerning the FDA
                   Approval of its BLA for the Drug Deramiocel
 2
 3                                      October 9, 2024
 4
            22.    On October 9, 2024, Capricor issued a press release announcing it
 5
 6    initiated its rolling submission process with the FDA for a BLA seeking full approval
 7    for deramiocel to treat patients with DMD cardiomyopathy. The press release stated
 8
      in pertinent part:
 9
10          Capricor plans to complete its rolling BLA submission by the end of 2024.
            The application may be eligible for priority review as deramiocel could
11          potentially provide significant improvements in the safety and/or
12          effectiveness of the treatment for the serious condition of DMD
            cardiomyopathy, where there are currently no approved treatment options
13          available. Once the rolling BLA submission is completed, the FDA will notify
14          the Company when it is formally accepted for review.
15          23.    Defendant Marbán highlighting, in relevant part:
16
            This announcement marks an important step in the U.S. regulatory
17          process towards a potential Biologics License Application approval of
18          deramiocel for the treatment of DMD. An approval of deramiocel
            would allow us to expedite the delivery of this novel, first-in-class
19          treatment to patients in need. We look forward to working with the
20          FDA during this process.
21          (Emphasis added.)
22
                                      November 13, 2024
23
24
            24.    On November 13, 2024, Capricor issued a press release announcing
25
26    third quarter 2024 financial results and provided an update as to its deramiocel DMD
27
      program. The press release stated in pertinent part:
28
                                                7
                    COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1      Filed 07/17/25   PageID.9     Page 9 of 36




 1          In addition, if deramiocel is approved, Capricor would be eligible to
            receive a Priority Review Voucher (PRV) based on our previous receipt
 2
            of a rare pediatric disease designation.
 3
            •     Based on FDA feedback and following Capricor’s recent pre-BLA
 4
                  meeting in August, Capricor initiated the rolling BLA submission
 5                in October of 2024 seeking full approval of deramiocel for the
                  treatment of DMD-cardiomyopathy with full submission expected
 6
                  to be complete by year end 2024.
 7          o     The BLA submission will be based on existing cardiac data from
 8                the Phase 2 HOPE-2 and HOPE-2 open label extension (OLE)
                  trials compared to patient-level natural history data.
 9
            (Emphasis added.)
10
            25.      Marbán touted the Company’s progress in obtaining a BLA for
11
      deramiocel, stating, in relevant part:
12
13          This has been a transformational quarter for Capricor as we move
            towards potential commercialization of deramiocel for the treatment of
14
            DMD. We have commenced the submission of our BLA which we
15          expect to be complete by year end and we have significantly
            strengthened our balance sheet in order to scale up manufacturing as
16
            we anticipate a strong launch, pending FDA approval.
17
            (Emphasis added.)
18
19
            26.      During the same day earnings call, Defendant Marbán discussed the
20
      significant benefits of deramiocel after conducting multiple clinical trials, stating, in
21
22    pertinent part:
23
            As you know, we have been working to develop deramiocel, formerly
24          known as CAP-1002, for the treatment of DMD for the last 8 years. We
25          have shown in multiple clinical trials the salutary benefits of
            deramiocel in attenuating the consequences of the skeletal muscle
26          myopathy and improving the cardiomyopathy associated with this
27          devastating disease. We have consistently presented the data as it has
            become available to the FDA, and the data has shown clinically
28          meaningful as well as statistically significant improvements. Based
                                              8
                     COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1   Filed 07/17/25   PageID.10     Page 10 of
                                              36



 1          on the strength of the data as well as the large unmet medical need of
            the cardiac implications, we have decided after conferring with the
 2
            FDA to file a BLA for full approval for the cardiomyopathy associated
 3          with DMD.
 4
                                             ***
 5
            It is a clear strategy, which gives Capricor the opportunity to achieve
 6
            potential approval for a first-in-class treatment for one of the most
 7          devastating consequences of DMD. I am pleased to report that the
 8          first module of the BLA was submitted, and we are on track to fully
            submit our BLA package by year-end 2024. I want to thank my team
 9          for their extraordinary efforts to this point and reiterate that we are
10          focusing all of our efforts on this endeavor. This includes preparations
            for CMC inspection, pre-commercial activities and market access work
11          with our distribution partner, NS Pharma. While we believe that an
12          AdCom may not be necessary, we are preparing internally for that
            eventuality.
13
14          (Emphasis added.)

15
16          27.    During a question-and-answer portion of the same earnings call,

17    Defendant Marbán elaborated on the regulatory filing and the Company’s agreement
18
      with Nippon Shinyaku for the marketing, sales and distribution of deramiocel in
19
20    Europe, stating, in pertinent part:

21          <Q: Edward Andrew Tenthoff – Piper Sandler – Analyst> Obviously,
22          there's a lot to do behind the scenes here with the filings and with the
            regulatory approval that you're seeking with the FDA. What are you
23          and Nippon Shinyaku doing to prepare this market and to get ready for
24          launch?

25          <A: Defendant Marbán > Now Capricor has joined in on the fact that
26          we know CAP-1002 or deramiocel better than anybody else. So now
            we have put several of our people basically into the daily mix with
27          Nippon Shinyaku to make sure that deramiocel is [ breeded ] and
28          launched the way that it's supposed to. So the product is ready,
                                               9
                    COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG      Document 1     Filed 07/17/25   PageID.11     Page 11 of
                                             36



 1          delivery is ready, the centers are ready, infusion centers are ready. All
            of the bells and whistles have been managed. Market access has been
 2
            assessed. KOLs have been brought on board. Physicians are ready to
 3          prescribe it. It is all underway at this time in regular standard
            meetings and opportunities. So that's going great, and we have great
 4
            opportunities ahead for launch.
 5
            In terms of your second question with manufacturing, we have been
 6
            preparing for this day for a long time. So we started thinking about the
 7          commercialization of deramiocel, let's call it, a decade ago when we
 8          entered into the clinic. And so we knew what we had to do. The good
            thing is -- that we have done is we have kept manufacturing in-house
 9          all this time. So it's a derisked manufacturing procedure because
10          nobody knows it better than we have. When we built the San Diego
            manufacturing facility, it's small, but it's commercial scale. So we know
11          exactly how to do it. We've been preparing for PLI really for about 2
12          years since we designed and opened that facility. So that one is ready
            to go. We have high confidence that we should be able to pass
13          inspection. And now because we are anticipating great adoption of
14          deramiocel by Duchenne patients, we're also planning and executing a
            build-out of a new manufacturing facility.
15
16          (Emphasis added.)

17                                      March 4, 2025
18          28.   On March 4, 2025, Capricor issued a press release announcing that the
19
      FDA has accepted its BLA for review seeking full approval for deramiocel for
20
21    patients with DMD cardiomyopathy. Notably, the release noted that the FDA did not
22    identify any potential review issues and granted the BLA Priority Review with a
23
      PDUFA target date of August 31, 2025.
24
25          29.   Marbán highlighting, in pertinent part:
26          We are thrilled to announce the acceptance of our BLA bringing us one
27          step closer to providing this first-in-class treatment for Duchenne-
            cardiomyopathy, a condition for which there are no approved therapies.
28          If our application is successful, we expect deramiocel to be a lifelong
                                               10
                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG        Document 1     Filed 07/17/25   PageID.12    Page 12 of
                                               36



 1          treatment, administered quarterly, with the potential to be widely
            adopted across the DMD-cardiomyopathy treatment landscape. We
 2
            want to extend our appreciation to the patients, their families and
 3          advocates who continue to work with Capricor and to the FDA for its
            commitment to accelerating treatments for DMD.
 4
 5                                        March 19, 2025
 6
            30.      On March 19, 2025, Capricor issued a press release reporting fourth
 7
 8    quarter and full year 2024 financial results and provided an update as to its BLA for

 9    deramiocel. The press release stated in pertinent part:
10
            Fourth Quarter 2024 and Recent Developments
11
12          •     In March 2025, the FDA accepted Capricor’s BLA seeking full
                  approval of deramiocel for the treatment of individuals with
13                Duchenne muscular dystrophy cardiomyopathy. Our BLA has
14                been granted Priority Review by the FDA, with a Prescription Drug
                  User Fee Act (PDUFA) action date set for August 31, 2025.
15                Deramiocel is a cellular therapy that consists of allogeneic
16                cardiosphere-derived cells (CDCs), a rare population of cardiac cells
                  that have been shown in preclinical and clinical studies to exert
17                potent immunomodulatory and anti-fibrotic actions in preservation
18                of cardiac and skeletal muscle function in DMD. CDCs act by
                  secreting exosomes, which reduce fibrosis in muscle resulting in a
19                reduction in myocardial scarring and cardiac inflammation by
20                targeting macrophages to adopt a healing, rather than a pro-
                  inflammatory phenotype. The BLA submission for deramiocel
21                included safety and efficacy data from Capricor’s Phase 2 HOPE-
22                2 placebo-controlled trial and the HOPE-2 open label extension
                  (OLE) trial compared to natural history data from an FDA-funded
23                and published dataset on the implications of DMD
24                cardiomyopathy and potential biomarkers of disease
                  progression. The results from these clinical studies demonstrated
25                statistically significant and clinically relevant improvements in
26                cardiac function up to three-years after treatment as well as a
                  consistent safety profile. Capricor’s ongoing HOPE-3 Phase 3 study
27                which is assessing skeletal muscle function has not been requested
28                for review by the FDA for this application.
                                                 11
                     COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG         Document 1    Filed 07/17/25   PageID.13     Page 13 of
                                                36



 1
            Expanded internal manufacturing capacity for deramiocel
 2
            production: In February 2025, Capricor entered into an amendment to
 3          its current lease for additional GMP space in its headquarters located in
            San Diego, California to support additional commercial manufacturing
 4
            capacity and throughput.
 5
            (Emphasis added.)
 6
 7
            31.    Defendant Marbán reiterated the Company’s goal in bringing the first
 8
 9    cellular therapy to market to treat patients with DMD cardiomyopathy, stating, in

10    relevant part:
11
            2024 was a transformational year for Capricor and the patients we
12          serve as we move closer to our goal of bringing the first cellular
13          therapy to market for the treatment of Duchenne-cardiomyopathy, a
            condition for which there are no approved therapies. We continue to
14          work diligently towards our August 31, 2025 action date for our
15          deramiocel Biologics License Application, directly engaging with the
            FDA, preparing for pre-approval licensure inspection and preparing
16          for potential commercial launch with our partner Nippon Shinyaku
17          Co. (U.S. subsidiary: NS Pharma Inc). Our BLA is the culmination of
            a body of work that has been focused on bringing this transformational
18          therapy to those patients in need with the potential to alter the trajectory
19          of this degenerative disease. In addition to our operational
            achievements, we ended the year with over $150 million on our
20          balance sheet allowing us to invest diligently in manufacturing
21          expansion and commercial endeavors as we work to bring deramiocel
            to the Duchenne community in the United States and abroad.
22
23    (Emphasis added.)

24          32.    During the same day earnings call, Defendant Marbán remained
25
      confident in deramiocel’s potential efficacy and noted the consistent positive data
26
27    from the Phase 2 HOPE-2 trials, stating, in pertinent part:

28
                                                 12
                       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1    Filed 07/17/25   PageID.14     Page 14 of
                                              36



 1          As we look ahead to our PDUFA date, set for August 31, 2025, we are
            working with the FDA as they are actively reviewing our application.
 2
            At this time, the FDA has not indicated to us whether an AdCom will
 3          be necessary, but we are preparing for one should that be needed. And
            I'm pleased to inform you that we have officially scheduled our PLI, or
 4
            pre-licensing inspection, of our manufacturing facility, which is set for
 5          the second quarter of this year.
 6
            Our BLA is supported with data from 2 trials: our Phase II HOPE-2
 7          placebo control trial and our HOPE-2 open-label extension trial
 8          compared to patient-level natural history data from the DMD Cardiac
            Consortium led by Dr. Jonathan Soslow at Vanderbilt University.
 9          Many factors have given us confidence in our BLA submission
10          pathway.

11          First and foremost, it has a strong safety profile and has been
12          administered to over 250 human subjects across several clinical trials
            over multiple years. Equally as important is that the data continues to
13          show clinical and statistically significant efficacy in the treatment of
14          DMD cardiomyopathy. This data is foundational to our BLA filing.

15          I would also like to point out that, it has become well-known that the
16          cardiac and skeletal aspects of the disease do not decline at the same
            rate. So therefore, because we see an impact on both cardiac and
17          skeletal muscle function, we are confident that we are seeing a
18          treatment effect of deramiocel across multiple domains, further
            strengthening the opportunity to treat DMD with deramiocel.
19
20          (Emphasis added.)
21          33.    During a question-and-answer portion of the same earnings call,
22
      Defendant Marbán commented on whether there will be an advisory committee with
23
24    the FDA, stating in pertinent part:
25
            <Q: Joseph Pantginis – H.C. Wainwright & Co. – Analyst> And then I
26          guess second question is, obviously, you have no indication that there's
            going to be an AdCom right now. When do you think you might hear
27
            an answer? And for example, if there were an AdCom, would that be a
28
                                               13
                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1     Filed 07/17/25    PageID.15    Page 15 of
                                              36



 1          place that they might want to not necessarily require but maybe force a
            discussion regarding HOPE-3?
 2
 3          <A: Defendant Marbán > Yes. So we're waiting every day to hear from
            them on whether they would want an AdCom. They will need some
 4
            time to put it together. And even though we're actively prepping for one
 5          as we speak, they have to give us time to prepare as well. So we expect
            to hear soon.
 6
 7          I think part of the delay is just based on some of the turmoil that's going
 8          on in the government right now. And so I expect that things are moving
            at a different pace than they might have even just a few months ago. So
 9          stay tuned. When we know, we will let everybody else know. We see
10          an AdCom neither as a benefit nor a risk. We believe very strongly in
            our application. We have clinically and statistically significant data.
11          The data stands on its own. However, if we need to get up there and
12          talk about it, we will absolutely do that.

13          In terms of HOPE-3, what they have told us is that they are not
14          considering HOPE-3 for this biologics license application that they
            understand that the primary efficacy endpoint of HOPE-3 is skeletal
15          muscle that, that would be used for post-approval label expansion. We
16          plan on taking HOPE-3 potentially outside the U.S. to order to expand
            our global footprint.
17
18          And the focus of this application as we and they understand it is the
            data that we've talked about, which is the HOPE-2 data, the HOPE-
19          2 open-label extension data compared to the natural history data set
20          from the Cardiac Consortium. And so I don't anticipate a discussion
            of HOPE-3 at an AdCom, but if it comes up, we'll be ready to take
21          those questions as well.
22
            (Emphasis added.)
23
24          34.   The above statements in Paragraphs 23 to 33 were false and/or
25
      materially misleading. Specifically, Defendants created adverse facts concerning its
26
27    four-year safety and efficacy data from its Phase 2 HOPE-2 trial study and gave the

28    false impression that they could obtain first approval for DMD cardiomyopathy.
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                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG      Document 1    Filed 07/17/25   PageID.16     Page 16 of
                                             36



 1          C.    Capricor Announces FDA Request for Advisory Committee
                  Meeting
 2
                                   May 5, 2025
 3
 4          35.   May 5, 2025, Capricor issued a press release announcing it had
 5
      completed its mid-cycle review meeting with the FDA on deramiocel for the
 6
      treatment of DMD. Defendants also announced that no significant deficiencies were
 7
 8    identified by the Review Committee and that the package is on track for a
 9
      Prescription Drug User Fee Act (PDUFA) action date of August 31, 2025.
10
11    Additionally, the FDA also confirmed its intent to hold an advisory committee

12    meeting.
13
            36.   Defendant Marbán highlighting, in pertinent part:
14
15          The successful completion of our mid-cycle review meeting along
            with the upcoming advisory committee meeting represents major
16          milestones on the path towards approval of deramiocel. Deramiocel is
17          a first-in-class cellular therapy with the potential to halt or slow the
            progression of DMD-cardiomyopathy, and we are pleased to have the
18          opportunity to present the efficacy and safety data to the advisory
19          committee. We have been actively preparing for an advisory
            committee meeting, and we look forward to providing the physician
20          and patient perspectives to highlight the weight of evidence
21          supporting the transformative potential of deramiocel in treating
            DMD-cardiomyopathy.
22
23          (Emphasis added.)

24          37.   Investors and analysts reacted immediately to Capricor’s revelation.
25
      The price of Capricor’s common stock declined from a closing market price of
26
27    $10.30 per share on May 5, 2025 to $7.30 per share on May 6, 2025.

28
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                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1       Filed 07/17/25   PageID.17   Page 17 of
                                              36



 1          38.    Although some information as to the Company’s true conditions was
 2
      revealed, Defendants continued to mislead investors. During an earnings call held
 3
      on May 13, 2025, Defendant Marbán assured investors that participating in an
 4
 5    Advisory Committee meeting is a positive step for deramiocel and touted the data
 6
      supporting its BLA, stating in pertinent part:
 7
 8          Our path with FDA to this point has been smooth, and FDA has not
            fallen behind in any way. Our objectives, deliverables and time lines
 9          remain on track. There has also been concern expressed over the
10          announcement of an FDA advisory committee meeting for Capricor.

11          I want to highlight that having the opportunity to participate in an
12          AdCom is a positive step for Capricor, for deramiocel and for the
            program as a whole because it gives us the opportunity to showcase
13          the strong scientific and clinical data that is the basis of our BLA. We
14          do not believe nor has FDA signaled that the determination to hold
            an AdCom has anything to do with weaknesses in the application, but
15          rather, we believe the nature of a first-in-class therapy for a new
16          indication warrants additional feedback from subject matter experts
            in the field as well as giving the advocacy and patient community an
17          opportunity to voice their opinion on deramiocel.
18
            The AdCom also affords us the opportunity to highlight that deramiocel
19          has a strong safety record demonstrated in over 700 infusions, treating
20          over 250 patients with some subjects receiving deramiocel infusions for
            almost 5 years. We are asking for approval for a therapy that has been
21          shown to be generally safe and effective for the treatment of DMD
22          cardiomyopathy for which there are no approved therapies.

23                                             ***
24          I would now like to discuss the data that supports our BLA. The filing
            is based on our blinded, randomized and placebo-controlled HOPE-
25          2 study and also by the HOPE-2 open-label extension study compared
26          to a robust FDA and NHLBI-funded natural history data set. While
            sample sizes are small, what is most relevant is not the size of the data
27          set, but that the statistically and clinically significant differences are
28          highly unlikely to be due to chance. We have worked with multiple
                                               16
                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG           Document 1     Filed 07/17/25    PageID.18    Page 18 of
                                                  36



 1              internal and external statisticians, presented the data at meetings and
                to KOLs. And what we have heard, seen and acted upon was that the
 2
                likelihood is extremely low that the impact on the heart or for that
 3              matter, the skeletal muscle is due to chance.
 4
                We have 3 clinical trials and approximately 4 years of open-label
 5              extension data that supports that premise. There has also been an
                emphasis and written guidance from FDA encouraging the use of real-
 6
                world evidence to support clinical trial data, especially in rare diseases.
 7              Deramiocel is a perfect case for using this type of data to validate the
 8              efficacy of a drug product.

 9    (Emphasis added.)
10
                39.   The aforementioned statements made in the press release on May 13,
11
12    2025 were false and/or misleading. Defendants misrepresented and/or failed to

13    disclose material adverse facts concerning its four-year safety and efficacy data from
14
      its Phase 2 HOPE-2 trial study and gave the false impression that they could obtain
15
16    first approval for DMD cardiomyopathy.

17              D.    FDA Director of the Center for Biologics Evaluation and Research
18                    Cancels the Advisory Committee Meeting

19                                           June 20, 2025
20
                40.   On June 20, 2025, Stat News2 reported that Vinjay Prasad, the director
21
22    of the FDA’s Center for Biologics Evaluation and Research (CBER), canceled the

23    advisory committee meeting regarding deramiocel due to being “skeptical of the
24
      treatment” and uncertain about the drug’s efficacy and safety.
25
26
27
28    2
          Id.
                                                    17
                       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG      Document 1    Filed 07/17/25   PageID.19    Page 19 of
                                             36



 1                                      June 24, 2025
 2
            41.   On June 24, 2025, Capricor issued a press release announcing that the
 3
      FDA canceled the Advisory Committee meeting but still intends to conduct an in-
 4
 5    person late-cycle review meeting in mid-July. Further, the release states that four-
 6
      year data presented at the Parent Project Muscular Dystrophy Conference
 7
 8    demonstrated sustained cardiac function and the BLA remains under Priority Review

 9    with a PDUFA target action date of August 31, 2025.
10
            42.   Defendant Marbán highlighted in pertinent part:
11
12          We remain confident in the strength of our submission and continue to
            advance toward potential approval, with our next major step being the
13          upcoming late-cycle review meeting. To date, all regulatory milestones
14          have proceeded as expected, including a successful pre-license
            inspection and a mid-cycle review with no major issues. Our
15          application remains under Priority Review, and we believe we are well
16          positioned as we move toward our PDUFA date. We continue to work
            closely with the FDA and remain encouraged by the progress of our
17          review.
18
            43.   The aforementioned news article, press release and statements made by
19
20    the Individual Defendants were materially false and misleading. Defendants

21    misrepresented and/or failed to disclose material adverse facts concerning its four-
22
      year safety and efficacy data from its Phase 2 HOPE-2 trial study and gave the false
23
24    impression that they could obtain first approval for DMD cardiomyopathy.

25
26
27
28
                                              18
                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG        Document 1   Filed 07/17/25    PageID.20    Page 20 of
                                               36



 1          E.     The Truth Emerges
 2                                        July 11, 2025
 3
            44.    On July 11, 2025, Capricor issued a press release announcing it
 4
      received a CRL from the FDA denying the BLA specifically citing it did not meet
 5
 6    the statutory requirement for substantial evidence of effectiveness and the need for
 7
      additional clinical data. Further, the CRL referenced outstanding items in the CMC
 8
      section of the application. Defendant Marbán stated, in pertinent part:
 9
10          We are surprised by this decision by the FDA. We have followed their
11          guidance throughout the process. Prior to the CRL, the review had
            advanced without major issues, including a successful pre-licensure
12          inspection and completion of the mid-cycle review. Capricor plans to
13          submit data from the Phase 3 HOPE-3 clinical trial to provide additional
            evidence of effectiveness from an adequate and well-controlled study.
14          The HOPE-3 trial is a randomized, double-blind, placebo-controlled
15          clinical trial of 104 patients, with topline results expected in the third
            quarter of 2025. We believe these data, if positive, along with our
16          existing long-term clinical results showing cardiac stabilization,
17          preservation of skeletal muscle function, and a consistent safety profile,
            could support efforts to resolve the questions raised by the FDA for the
18          treatment of cardiomyopathy associated with DMD. While this was an
19          unexpected decision by the FDA, we remain committed to the DMD
            community to get Deramiocel through the approval process.
20
21          (Emphasis added.)

22          45.    During a Special Call held the same day, Defendant Marbán was
23
      questioned about the Company’s response to the CRL and the data obtained in the
24
25    Phase 2 HOPE-2 clinical trial.

26          <Q: Edward Andrew Tenthoff – Piper Sandler & Co. – Analyst> When
27          it comes to the BLA, the response to the CRL, as you laid out, when do
            you think you might be able to respond to the CRL?
28
                                               19
                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG      Document 1     Filed 07/17/25   PageID.21     Page 21 of
                                             36



 1          <Defendant Marbán> We are working directly with the agency now.
            So in the CRL, they open the door for an informal teleconference to
 2
            discuss and quoting the letter, path to approval. They've also suggested
 3          a follow-up to that. We could actually request a Type A meeting in
            addition. So they're anxious to work with us. I think they could not
 4
            include HOPE-3 opportunity in the CRL because it was not part of this
 5          initial application.
 6
            We're going to work closely with the agency to build HOPE-3 to be
 7          exactly what we need to get this BLA across the line. This BLA is for
 8          the cardiomyopathy. Therefore, the simplest path to approval is to see
            if they'll take HOPE-3 for the cardiomyopathy to treat DMD. And of
 9          course, there's a broader application in terms of skeletal muscle as well
10          and we look forward to feedback from them.

11          <Q: Leland James Gershell – Oppenheimer & Co. – Analyst> I wanted
12          to just clarify with respect to sort of dividing between the observations
            that have been made and the statistical analyses that have been applied.
13
14          <Defendant Marbán> This is the crux of the matter, right? So -- and
            this is where colloquially, the rubber meets the road. So obviously,
15          FDA had raised concerns about the initial analysis of the HOPE-2
16          clinical data. That conversation has been back and forth with the
            agency literally for years.
17
18          Let me just explain for a minute exactly how we get to the statistical
            significance and what we've been going back and forth with the agency
19          on and, in fact, got over the hump in August of 2024 in our meetings
20          with the agency. And that was that the original model that was designed
            for HOPE-2 was based on an 84-patient trial. Because of the early
21          unblinding, there was an imbalance in the distribution. So a normally
22          distributed curve was what the original model was based on. You have
            to meet the assumption of a normal distribution in order to do that
23          analysis. Once the violation of a normal distribution occurs, you must
24          use a nonparametric analysis, and our statisticians have talked to the
            agency about this in great detail.
25
26          When you apply the nonparametric analysis, you then have a very
            robust statistical significance of the performance of the upper limb, 1.2
27          mid in HOPE-2, which then leads to all of the other secondary
28          endpoints, achieving statistical significance, most importantly being
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                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG      Document 1     Filed 07/17/25   PageID.22    Page 22 of
                                             36



 1          left ventricular ejection fraction. The agency had accepted that. That
            was one of the topics that was discussed in the meeting in August of
 2
            2024. And now they've gone back to a little bit more of their
 3          traditional dogma of the fact that it did not meet the original model
            assumptions.
 4
 5          <Q: Kristen Brianne Kluska – Cantor Fitzgerald & Co. – Analyst>
            First, was there anything that they said about the data itself being
 6
            clinically or not clinically meaningful? Or is the sense here that it was
 7          just more on the magnitude, the way the study was statistically analyzed
 8          beyond what you just said for HOPE-2 and the number of patients?

 9          <A: Defendant Marbán > Yes, it seems mostly that the argument is
10          around the statistical analysis. So in HOPE-2, the concept was, as I
            just explained, when Leland asked his question, was in the model
11          assumptions and whether to use a parametric normal distribution or
12          a nonparametric model, which was obviously acceptable to the
            statistical reviewers at the Lancet and to some of the previous
13          reviewers at the Food and Drug Administration.
14
            (Emphasis added.)
15
16          46.   The aforementioned press release and statements made by the

17    Individual Defendant was misleading and in direct contrast to statements made in
18
      her June 24, 2025 press release. In the press release, Defendant Marbán reiterated
19
20    that all regulatory milestones were met with met including a successful pre-license

21    inspection and mid-cycle review with no major issues. Further, the BLA for
22
      deramiocel remained under Priority Review with a PDUFA action date of August
23
24    31, 2025.

25          47.   An analyst at Cantor Fitzgerald lowered its price target calling the CRL
26
      issuance a “disappointing setback” noting that “[i]t’s unclear if a brand-new BLA
27
28    will be required…or a major amendment.”
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                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1     Filed 07/17/25   PageID.23     Page 23 of
                                              36



 1            48.   Further, an analyst at Piper Sandler also lowered its price target noting
 2
      the delay in FDA approval to 2026 stating that “[w]e anticipate FDA will deem this
 3
      a Class II resubmission with a 6-month review period, and that deramiocel could
 4
 5    gain FDA approval in mid’26.”
 6
              49.   As a result, investors and analysts reacted immediately to Capricor’s
 7
 8    revelation. The price of Capricor’s common stock declined from a closing market

 9    price of $11.40 per share on July 10, 2025 to $7.64 per share on July 11, 2025, a
10
      decline of nearly 34% in the span of just a single day.
11
12            F.    Loss Causation and Economic Loss

13            50.   During the Class Period, as detailed herein, Capricor and Defendants
14
      made materially false and misleading statements and engaged in a scheme to deceive
15
16    the market and a course of conduct that artificially inflated the price of Capricor’s

17    common stock and operated as a fraud or deceit on Class Period purchasers of
18
      Capricor’s common stock by materially misleading the investing public. Later, when
19
20    Capricor and Defendants’ prior misrepresentations and fraudulent conduct became

21    apparent to the market, the price of Capricor’s common stock materially declined,
22
      as the prior artificial inflation came out of the price over time. As a result of their
23
24    purchases of Capricor’s common stock during the Class Period, Plaintiff and other

25    members of the Class suffered economic loss, i.e., damages under federal securities
26
      laws.
27
28
                                                22
                    COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG      Document 1    Filed 07/17/25   PageID.24    Page 24 of
                                             36



 1          51.     Capricor’s stock price fell in response to the corrective events, as
 2
      alleged supra. On these dates, Defendants disclosed information that was directly
 3
      related to their prior misrepresentations and material omissions concerning
 4
 5    Capricor’s four-year safety and efficacy data from its Phase 2 HOPE-2 trial study of
 6
      deramiocel.
 7
 8          G.      Presumption of Reliance; Fraud-On-The-Market

 9          52.     At all relevant times, the market for Capricor’s common stock was an
10
      efficient market for the following reasons, among others:
11
12          (a)     Capricor’s common stock met the requirements for listing and was

13    listed and actively traded on the NASDAQ during the Class Period, a highly efficient
14
      and automated market;
15
16          (b)     Capricor communicated with public investors via established market

17    communication mechanisms, including disseminations of press releases on the
18
      national circuits of major newswire services and other wide-ranging public
19
20    disclosures, such as communications with the financial press and other similar

21    reporting services;
22
            (c)     Capricor was followed by several securities analysts employed by
23
24    major brokerage firms who wrote reports that were distributed to the sales force and

25    certain customers of their respective brokerage firms during the Class Period. Each
26
      of these reports was publicly available and entered the public marketplace; and
27
28
                                              23
                    COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1      Filed 07/17/25   PageID.25     Page 25 of
                                              36



 1          (d)    Unexpected material news about Capricor was reflected in and
 2
      incorporated into the Company’s stock price during the Class Period.
 3
            53.    As a result of the foregoing, the market for Capricor’s common stock
 4
 5    promptly digested current information regarding the Company from all publicly
 6
      available sources and reflected such information in Capricor’s stock price. Under
 7
 8    these circumstances, all purchasers of Capricor’s common stock during the Class

 9    Period suffered similar injury through their purchase of Capricor’s common stock at
10
      artificially inflated prices, and a presumption of reliance applies.
11
12          54.    Alternatively, reliance need not be proven in this action because the

13    action involves omissions and deficient disclosures. Positive proof of reliance is not
14
      a prerequisite to recovery pursuant to ruling of the United States Supreme Court in
15
16    Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972). All that is

17    necessary is that the facts withheld be material in the sense that a reasonable investor
18
      might have considered the omitted information important in deciding whether to buy
19
20    or sell the subject security.

21          H.     No Safe Harbor; Inapplicability of Bespeaks Caution Doctrine
22
            55.    The statutory safe harbor provided for forward-looking statements
23
24    under certain circumstances does not apply to any of the material misrepresentations

25    and omissions alleged in this Complaint. As alleged above, Defendants’ liability
26
      stems from the fact that they provided investors with statements about regulatory
27
28
                                                24
                    COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG           Document 1   Filed 07/17/25   PageID.26   Page 26 of
                                                  36



 1    developments and prospects while at the same time omitting acute risks undermining
 2
      the validity of their statements.
 3
            56.    To the extent certain of the statements alleged to be misleading or
 4
 5    inaccurate may be characterized as forward looking, they were not identified as
 6
      “forward-looking statements” when made and there were no meaningful cautionary
 7
 8    statements identifying important factors that could cause actual results to differ

 9    materially from those in the purportedly forward-looking statements.
10
            57.    Defendants are also liable for any false or misleading “forward-looking
11
12    statements” pleaded because, at the time each “forward-looking statement” was

13    made, the speaker knew the “forward-looking statement” was false or misleading
14
      and the “forward-looking statement” was authorized and/or approved by an
15
16    executive officer of Capricor who knew that the “forward-looking statement” was

17    false. Alternatively, none of the historic or present-tense statements made by
18
      Defendants were assumptions underlying or relating to any plan, projection, or
19
20    statement of future economic performance, as they were not stated to be such

21    assumptions underlying or relating to any projection or statement of future economic
22
      performance when made, nor were any of the projections or forecasts made by the
23
24    defendants expressly related to or stated to be dependent on those historic or present-

25    tense statements when made.
26
27
28
                                                 25
                    COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1     Filed 07/17/25   PageID.27     Page 27 of
                                              36



 1                           CLASS ACTION ALLEGATIONS
 2
            58.    Plaintiff brings this action as a class action pursuant to Federal Rule of
 3
      Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who
 4
 5    purchased or otherwise acquired Capricor’s common stock during the Class Period
 6
      (the “Class”); and were damaged upon the revelation of the alleged corrective
 7
 8    disclosure. Excluded from the Class are defendants herein, the officers and directors

 9    of the Company, at all relevant times, members of their immediate families and their
10
      legal representatives, heirs, successors or assigns and any entity in which defendants
11
12    have or had a controlling interest.

13          59.    The members of the Class are so numerous that joinder of all members
14
      is impracticable. Throughout the Class Period, Capricor’s common stock were
15
16    actively traded on the NASDAQ. While the exact number of Class members is

17    unknown to Plaintiff at this time and can be ascertained only through appropriate
18
      discovery, Plaintiff believes that there are hundreds or thousands of members in the
19
20    proposed Class. Record owners and other members of the Class may be identified

21    from records maintained by Capricor or its transfer agent and may be notified of the
22
      pendency of this action by mail, using the form of notice similar to that customarily
23
24    used in securities class actions. As of May 13, 2025, there were 45 million shares of

25    the Company’s common stock outstanding. Upon information and belief, these
26
      shares are held by thousands, if not millions, of individuals located throughout the
27
28    country and possibly the world. Joinder would be highly impracticable.
                                               26
                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG            Document 1    Filed 07/17/25   PageID.28    Page 28 of
                                                   36



 1           60.      Plaintiff’s claims are typical of the claims of the members of the Class
 2
      as all members of the Class are similarly affected by Defendants’ wrongful conduct
 3
      in violation of federal law that is complained of herein.
 4
 5           61.      Plaintiff will fairly and adequately protect the interests of the members
 6
      of the Class and has retained counsel competent and experienced in class and
 7
 8    securities litigation. Plaintiff has no interests antagonistic to or in conflict with those

 9    of the Class.
10
             62.      Common questions of law and fact exist as to all members of the Class
11
12    and predominate over any questions solely affecting individual members of the

13    Class. Among the questions of law and fact common to the Class are:
14
             (a)      whether the federal securities laws were violated by Defendants’ acts
15
16                    as alleged herein;

17           (b)      whether statements made by Defendants to the investing public during
18
                      the Class Period misrepresented material facts about the business,
19
20                    operations and management of Capricor;

21           (c)      whether the Individual Defendants caused Capricor to issue false and
22
                      misleading financial statements during the Class Period;
23
24           (d)      whether Defendants acted knowingly or recklessly in issuing false and

25                    misleading financial statements;
26
27
28
                                                  27
                      COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG        Document 1    Filed 07/17/25   PageID.29     Page 29 of
                                               36



 1          (e)    whether the prices of Capricor’s common stock during the Class
 2
                   Period were artificially inflated because of the Defendants’ conduct
 3
                   complained of herein; and
 4
 5          (f)    whether the members of the Class have sustained damages and, if so,
 6
                   what is the proper measure of damages.
 7
 8          63.    A class action is superior to all other available methods for the fair and

 9    efficient adjudication of this controversy since joinder of all members is
10
      impracticable. Furthermore, as the damages suffered by individual Class members
11
12    may be relatively small, the expense and burden of individual litigation make it

13    impossible for members of the Class to individually redress the wrongs done to them.
14
      There will be no difficulty in the management of this action as a class action.
15
16                                          COUNT I

17                         Against All Defendants for Violations of
18                  Section 10(b) and Rule 10b-5 Promulgated Thereunder

19          64.    Plaintiff repeats and realleges each and every allegation contained
20
      above as if fully set forth herein.
21
22          65.    This Count is asserted against defendants and is based upon Section

23    10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
24
      thereunder by the SEC.
25
26          66.    During the Class Period, Defendants engaged in a plan, scheme,

27    conspiracy and course of conduct, pursuant to which they knowingly or recklessly
28
                                               28
                    COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG      Document 1     Filed 07/17/25   PageID.30       Page 30 of
                                             36



 1    engaged in acts, transactions, practices and courses of business which operated as a
 2
      fraud and deceit upon. Plaintiff and the other members of the Class; made various
 3
      untrue statements of material facts and omitted to state material facts necessary in
 4
 5    order to make the statements made, in light of the circumstances under which they
 6
      were made, not misleading; and employed devices, schemes and artifices to defraud
 7
 8    in connection with the purchase and sale of securities. Such scheme was intended to,

 9    and, throughout the Class Period, did: (i) deceive the investing public, including
10
      Plaintiff and other Class members, as alleged herein; (ii) artificially inflate and
11
12    maintain the market price of Capricor common stock; and (iii) cause Plaintiff and

13    other members of the Class to purchase or otherwise acquire Capricor’s securities at
14
      artificially inflated prices. In furtherance of this unlawful scheme, plan and course
15
16    of conduct, Defendants, and each of them, took the actions set forth herein.

17          67.    Pursuant to the above plan, scheme, conspiracy and course of conduct,
18
      each of the defendants participated directly or indirectly in the preparation and/or
19
20    issuance of the quarterly and annual reports, SEC filings, press releases and other

21    statements and documents described above, including statements made to securities
22
      analysts and the media that were designed to influence the market for Capricor’s
23
24    securities. Such reports, filings, releases and statements were materially false and

25    misleading in that they failed to disclose material adverse information and
26
      misrepresented the truth about the Company.
27
28
                                               29
                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG        Document 1     Filed 07/17/25    PageID.31     Page 31 of
                                               36



 1          68.    By virtue of their positions at the Company, Defendants had actual
 2
      knowledge of the materially false and misleading statements and material omissions
 3
      alleged herein and intended thereby to deceive Plaintiff and the other members of
 4
 5    the Class, or, in the alternative, Defendants acted with reckless disregard for the truth
 6
      in that they failed or refused to ascertain and disclose such facts as would reveal the
 7
 8    materially false and misleading nature of the statements made, although such facts

 9    were readily available to Defendants. Said acts and omissions of defendants were
10
      committed willfully or with reckless disregard for the truth. In addition, each
11
12    defendant knew or recklessly disregarded that material facts were being

13    misrepresented or omitted as described above.
14
            69.    Information showing that Defendants acted knowingly or with reckless
15
16    disregard for the truth is peculiarly within defendants’ knowledge and control. As

17    the senior managers and/or directors of the Company, the Individual Defendants had
18
      knowledge of the details of Capricor’s internal affairs.
19
20          70.    The Individual Defendants are liable both directly and indirectly for the

21    wrongs complained of herein. Because of their positions of control and authority,
22
      the Individual Defendants were able to and did, directly or indirectly, control the
23
24    content of the statements of the Company. As officers and/or directors of a publicly-

25    held company, the Individual Defendants had a duty to disseminate timely, accurate,
26
      and truthful information with respect to Capricor’s businesses, operations, future
27
28    financial condition and future prospects. As a result of the dissemination of the
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                    COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1    Filed 07/17/25   PageID.32     Page 32 of
                                              36



 1    aforementioned false and misleading reports, releases and public statements, the
 2
      market price of Capricor’s common stock was artificially inflated throughout the
 3
      Class Period. In ignorance of the adverse facts concerning the Company which were
 4
 5    concealed by Defendants, Plaintiff and the other members of the Class purchased or
 6
      otherwise acquired Capricor’s common stock at artificially inflated prices and relied
 7
 8    upon the price of the common stock, the integrity of the market for the common

 9    stock and/or upon statements disseminated by Defendants, and were damaged
10
      thereby.
11
12          71.    During the Class Period, Capricor’s common stock was traded on an

13    active and efficient market. Plaintiff and the other members of the Class, relying on
14
      the materially false and misleading statements described herein, which the
15
16    defendants made, issued or caused to be disseminated, or relying upon the integrity

17    of the market, purchased or otherwise acquired shares of Capricor’s common stock
18
      at prices artificially inflated by defendants’ wrongful conduct. Had Plaintiff and the
19
20    other members of the Class known the truth, they would not have purchased or

21    otherwise acquired said common stock, or would not have purchased or otherwise
22
      acquired them at the inflated prices that were paid. At the time of the purchases
23
24    and/or acquisitions by Plaintiff and the Class, the true value of Capricor’s common

25    stock was substantially lower than the prices paid by Plaintiff and the other members
26
      of the Class. The market price of Capricor’s common stock declined sharply upon
27
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                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG       Document 1     Filed 07/17/25   PageID.33    Page 33 of
                                              36



 1    public disclosure of the facts alleged herein to the injury of Plaintiff and Class
 2
      members.
 3
            72.    By reason of the conduct alleged herein, Defendants knowingly or
 4
 5    recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act
 6
      and Rule 10b-5 promulgated thereunder.
 7
 8          73.    As a direct and proximate result of defendants’ wrongful conduct,

 9    Plaintiff and the other members of the Class suffered damages in connection with
10
      their respective purchases, acquisitions and sales of the Company’s common stock
11
12    during the Class Period, upon the disclosure that the Company had been

13    disseminating misrepresented financial statements to the investing public.
14
                                           COUNT II
15
16                              Against the Individual Defendants
                       for Violations of Section 20(a) of the Exchange Act
17
18          74.    Plaintiff repeats and realleges each and every allegation contained in

19    the foregoing paragraphs as if fully set forth herein.
20
            75.    During the Class Period, the Individual Defendants participated in the
21
22    operation and management of the Company, and conducted and participated, directly

23    and indirectly, in the conduct of the Company’s business affairs. Because of their
24
      senior positions, they knew the adverse non-public information about Capricor’s
25
26    misstatements.

27
28
                                                32
                    COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG         Document 1   Filed 07/17/25   PageID.34   Page 34 of
                                                36



 1          76.    As officers and/or directors of a publicly owned company, the
 2
      Individual Defendants had a duty to disseminate accurate and truthful information,
 3
      and to correct promptly any public statements issued by Capricor which had become
 4
 5    materially false or misleading.
 6
            77.    Because of their positions of control and authority as senior officers,
 7
 8    the Individual Defendants were able to, and did, control the contents of the various

 9    reports, press releases and public filings which Capricor disseminated in the
10
      marketplace during the Class Period concerning the misrepresentations. Throughout
11
12    the Class Period, the Individual Defendants exercised their power and authority to

13    cause Capricor to engage in the wrongful acts complained of herein. The Individual
14
      Defendants therefore, were “controlling persons” of the Company within the
15
16    meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in

17    the unlawful conduct alleged which artificially inflated the market price of
18
      Capricor’s common stock.
19
20          78.    Each of the Individual Defendants, therefore, acted as a controlling

21    person of the Company. By reason of their senior management positions and/or
22
      being directors of the Company, each of the Individual Defendants had the power to
23
24    direct the actions of, and exercised the same to cause, Capricor to engage in the

25    unlawful acts and conduct complained of herein. Each of the Individual Defendants
26
      exercised control over the general operations of the Company and possessed the
27
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                                               33
                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG      Document 1     Filed 07/17/25   PageID.35     Page 35 of
                                             36



 1    power to control the specific activities which comprise the primary violations about
 2
      which Plaintiff and the other members of the Class complain.
 3
            79.    By reason of the above conduct, the Individual Defendants and/or
 4
 5    Capricor are liable pursuant to Section 20(a) of the Exchange Act for the violations
 6
      committed by the Company.
 7
 8                                 PRAYER FOR RELIEF

 9          WHEREFORE, Plaintiff demand judgment against defendants as follows:
10
            A.     Determining that the instant action may be maintained as a class action
11
12    under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the

13    Class representatives;
14
            B.     Requiring Defendants to pay damages sustained by Plaintiff and the
15
16    Class by reason of the acts and transactions alleged herein;

17          C.     Awarding Plaintiff and the other members of the Class pre-judgment
18
      and post-judgment interest, as well as their reasonable attorneys’ fees, expert fees
19
20    and other costs; and

21          D.     Awarding such other and further relief as this Court may deem just and
22
      proper.
23
24                             DEMAND FOR TRIAL BY JURY

25                 Plaintiff hereby demands a trial by jury.
26
27
28
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                   COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 3:25-cv-01815-DMS-AHG    Document 1    Filed 07/17/25   PageID.36   Page 36 of
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 1    Dated: July 17, 2025                       Respectfully submitted,
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 3
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10                                               Attorneys for Plaintiff Hau Xiang
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                  COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
